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IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSEE g§;~.g;\g _9 mg 3: 314
WESTERN DIVISION

 

 

EA.RNESTINE W. BUTLER,
Plaintiff,
NO. 04-2006 Ml/P

vl

ADAM'S MARK HOTEL, et al.,

Defendants.

 

ORDER DEN'YING DEFENDA.NT SEVENTEEN HB MEMPHIS CORPORATION'S MOTION
TO DISMISS FOR FAILURE TO PROSECUTE, OR, IN THE 1-\LTER.N1-\TIVElr TO
COMPEL PLAINTIFF'S DEPOSITION

 

Before the Court is the Motion to Dismiss for Failure to
Prosecute, or, in the Alternative, to Compel Plaintiff's
Deposition of Defendant Seventeen HB Memphis Corporation, filed
April l, 2005. Plaintiff responded in opposition on April 5,
2005.

When evaluating a motion to dismiss for failure to prosecute
pursuant to Federal Rule of Civil Procedure 4l(b), a district
court is guided by the following four factors:

(l) whether the party's failure is due to willfulness,
bad faith, or fault; (2) whether the adversary was
prejudiced by the dismissed party's conduct; (3)
whether the dismissed party was warned that failure to
cooperate could lead to dismissal; and (4) whether less
drastic sanctions were imposed or considered before
dismissal was ordered.

Knoll v. American Tel. & Tel. Co., 176 F.3d 359, 363 (6th Cir.

1999). Although none of the above factors is dispositive, a

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with Hu|e 58 and/or 79{a) FRCP on 'J

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district court may dismiss a case where “a clear record of delay
or contumacious conduct” exists. ldi Upon review of the entire
record in this case and considering the parties submissions in
light of the factors described above in §ngll, the Court DENIES
Defendant's motion to dismiss.

The Defendant alternatively moves to compel Plaintiff’s
deposition scheduled on April 6, 2005, or on another date before
the April 15, 2005, deposition deadline. On April 5, 2005,
Defendant filed a Memorandum to the Court in which it consented
to staying Plaintiff’s April 6, 2005, deposition pending a ruling
on the instant motion. Because the Court has granted Plaintiff’s
Motion to Modify and Enlarge Scheduling Order, the Court DENIES
the motion to compel as moot. (Order Granting Pl.'s Mot. to

Modify and Enlarge Sched. Order, May 5, 2005.)

so oRnERED this w th day of May, 2005.

Qm“(l

JO P. MCCALLA
UN 'I‘ED S'I'ATES DIS’I‘RICT JUDGE

 

 

 

 

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This notice confirms a copy of the document docketed as number 41 in
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Honorable J on McCalla
US DISTRICT COURT

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